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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


EDWELL T. HENRY II,                           :
                                              :
                             Plaintiff,       :
                                              :
               v.                             :
                                              :      Case 2:22-CV-04614-RAL
UNITED LUTHERAN SEMINARY and                  :
DR. R. GUY ERWIN,                             :
                                              :
                             Defendant

                  DEFENDANTS’ MOTION FOR PARTIAL JUDGMENT
                ON THE PLEADINGS PURSUANT TO FED. R. CIV. P. 12(c).
                Defendants, United Lutheran Seminary (“ULS”) and Dr. R. Guy Erwin (“Dr.

Erwin”), move this Court for entry of an Order dismissing Counts VII, VIII and IX, along with

the claims for compensatory, punitive, and liquidated damages. The reasons why the Motion

should be granted are set forth fully in the accompanying Brief.

Dated: April 19, 2023                       Respectfully submitted,

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